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                                     UNITED STATES DISTRICT COURT
          11
                                FOR THE CENTRAL DISTRICT OF CALIFORNIA
          12                              SOUTHERN DIVISION
          13     MASIMO CORPORATION,
                 a Delaware corporation; and
          14     CERCACOR LABORATORIES, INC.,           CASE NO. 8:20-cv-00048-DOC-DFM
                 a Delaware corporation,
          15                                            APPLE INC.’S NOTICE OF MOTION
                                    Plaintiffs,         AND MOTION TO DISMISS
          16                                            PLAINTIFFS’ COMPLAINT
                       v.
          17                                            Hearing
                 APPLE INC.,
          18     a California corporation,              Date:            Date: April 6, 2020
                                                        Time:            8:30 a.m.
          19                        Defendant.          Courtroom:       9D
                                                        Judge:           Hon. David O. Carter
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            1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
            2          PLEASE TAKE NOTICE that on April 6, 2020, at 8:30 AM, or as soon
            3    thereafter as the matter may be heard, in Courtroom 9D of the United States District
            4    Court for the Central District of California at Ronald Reagan Federal Building and
            5    United States Courthouse, 411 W. Fourth Street, Santa Ana, California, 92701,
            6    Defendant Apple Inc. (“Apple”) will and hereby does move the Court under Federal
            7    Rule of Civil Procedure 12(b)(6) to dismiss with prejudice all claims asserted by
            8    Plaintiffs Masimo Corporation (“Masimo”) and Cercacor Laboratories, Inc.
            9    (“Cercacor”) (collectively, “Plaintiffs”) against Apple in the above-captioned matter.
          10     Plaintiffs’ allegations are not timely under the relevant statute of limitations, nor do
          11     Plaintiffs plead key requirements of every cause of action. Plaintiffs’ Complaint is
          12     facially deficient at least for the following reasons and accordingly should be
          13     dismissed.
          14           First, Plaintiffs’ trade secrets cause of action (No. 11) is defective because it is
          15     time-barred by Cal. Civ. Code § 3426.6 and fails to plead required elements of a trade
          16     secrets claim. Second, the patent infringement causes of action (Nos. 1–10) are defective
          17     because they do not adequately compare the asserted claims to the accused products to
          18     demonstrate that each limitation of at least one asserted claim is practiced by the accused
          19     products. Third, Plaintiffs’ patent ownership cause of action (No. 17) is defective for
          20     failing to allege a cognizable state law legal theory, requesting relief that this Court
          21     cannot grant, and improperly pleading multiple claims in one cause of action. Lastly,
          22     Plaintiffs’ correction of inventorship causes of action (Nos. 12–16) are defective because
          23     Plaintiffs have no standing to bring these claims and have failed to identify the subject
          24     matter that Plaintiffs’ employees allegedly jointly invented. Accordingly, none of
          25     Plaintiffs’ claims is adequately pleaded under the standard established in Ashcroft v.
          26     Iqbal, 556 U.S. 662 (2009) and Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) and
          27     should be dismissed with prejudice, or a more particular statement should be required.
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            1          This Motion is based on this Notice of Motion and Motion, the accompanying
            2    Memorandum of Points and Authorities, Request for Judicial Notice, and the [Proposed]
            3    Order, the Complaint, all pleadings and papers on file in this action, and such further
            4    evidence and argument as may be presented at or before the hearing on this matter.
            5          This Motion is made following the conference of counsel pursuant to Local Rule
            6    7-3, which took place on February 26, 2020.
            7    Dated: March 4, 2020                  Respectfully submitted,
            8                                          JOSHUA H. LERNER
                                                       H. MARK LYON
            9                                          GIBSON, DUNN & CRUTCHER LLP
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          11                                           By: /s/Joshua H. Lerner
                                                           Joshua H. Lerner
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          13                                           Attorneys for Defendant Apple Inc.
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